EXHIBIT 22
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                               Case No. 1:25-CV-10910-ADB

                          Plaintiffs,

                   v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                          Defendants.



                             DECLARATION OF SCOTT DELANEY

I, Scott Delaney, hereby declare as follows:

        1.        I am offering this Declaration in my individual capacity and not on behalf of my

employer. I am over the age of 18 and competent to testify as to the matters set forth in this affidavit

based on my own personal knowledge.

        2.        I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

        3.        I am an epidemiologist at the Harvard T.H. Chan School of Public Health (HSPH).

My research investigates how environmental, social, and legal forces affect neurodegenerative

diseases in older Americans and neurodevelopmental health in American children. The singular

focus and driving motivation of my career is to improve the lives of Americans battling neurolog-

ical disorders.

        4.        I have conducted epidemiologic research at HSPH in various capacities—first as a

student, then as a postdoctoral research fellow, and finally as a Research Scientist—for 11 years.
I hold a Doctor of Science from HSPH (ScD, 2020); a Master of Public Health from the Johns

Hopkins Bloomberg School of Public Health (MPH, 2015); a Juris Doctor from the University of

Illinois College of Law (JD, 2004); and a Bachelor of Science from the University of Illinois Col-

lege of Business (BS, Finance, 2000). Prior to my career in epidemiology, I practiced law in several

capacities.

       5.      At HSPH, I formally hold the title of “Research Scientist” in the Department of

Environmental Health. I currently have a three-year employment agreement with HSPH as a Re-

search Scientist that began in May 2024.

       6.      The title and role of a “Research Scientist” can entail somewhat different privileges

and responsibilities at different universities, and even at different schools within universities. At

HSPH, Research Scientists are appointed by the faculty, and we have full privileges to conduct

independent research. This means we can apply for and receive NIH grant funding as Principal

Investigators (PIs), and we can conduct research independently and build our own teams. We can

also conduct research on teams led by—and funded by the grants of—other PIs (including both

Research Scientists and faculty members). At HSPH, some Research Scientists have secured their

own grants as PIs, while others have developed productive careers conducting research in support

of grants led exclusively by other PIs.

       7.      The Research Scientist career “track” at HSPH, which entails three tiers of scien-

tists (Research Scientist, Senior Research Scientist, Principal Research Scientist) at increasing lev-

els of seniority, entails many benefits. Specifically, Research Scientists of all levels have consid-

erable latitude to define and develop their research portfolios. And unlike tenure-track faculty

members, Research Scientists are not required to teach courses or mentor students. Research




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Scientists are also generally free from requirements imposed on tenure-track faculty members to

serve on departmental or school committees.

       8.      However, the benefits of the Research Scientist track (i.e., flexibility, minimal non-

research obligations) are tempered by a reduced institutional commitment to our positions and

salaries. We have no tenure protections and are not eligible for them. In general, HSPH pays us to

conduct research, not to teach, mentor, or perform other duties. We are professional researchers.

As a result, we must ensure our salaries are fully funded by research grants. There are many sources

of research grants, including governments, private foundations, philanthropic organizations, and

even the university itself. However, for many Research Scientists at HSPH, grants from the Na-

tional Institutes of Health (NIH) provide most funding for our research and salaries.

       9.      Throughout my career in epidemiology, I have applied for and, in some cases, re-

ceived multiple types of grants from NIH either individually or as part of teams. These include

training grants (T90 and T32 as a student trainee), a fellowship grant (F31 as a student PI), multiple

loan repayment awards (“L” grants as a PI), and multiple research “R” grants (as a Co-Investiga-

tor). My current research activities—and my entire salary—were wholly supported by a single

NIH R01 research grant, for which two of my colleagues (both of whom are Principal Research

Scientists) are the Principal Investigators.

       10.      The core of my current research activities focuses on the health effects of various

environmental exposures, including fine particle air pollution and extreme temperature events, on

brain health. In particular, I study the effects of these exposures on Americans with neurodegen-

erative diseases, including Alzheimer’s Disease, and Parkinson’s Disease. My team also plans to

expand our research to include Americans with Lewy Body Dementia, a devastating yet under-

studied syndrome that shares some symptoms in common with both Alzheimer’s and Parkinson’s




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Diseases. In the past, I have also studied how environmental exposures affect neurodevelopmental

outcomes in American children. An important facet of my research is to explore reasons why some

population groups are more susceptible to the effects of air pollution or extreme temperatures than

others.

          11.   My research has generated nearly 50 scientific manuscripts. My work has been

published in several high-impact journals, including, among others, the New England Journal of

Medicine, Science, Nature Communications, JAMA Internal Medicine, JAMA Psychiatry, Annals

of Internal Medicine, the Journal of the American Heart Association, and Developmental Cogni-

tive Neuroscience. These manuscripts have received press coverage in over 250 publications, in-

cluding The New York Times and CNN.

          12.   Given my role as a researcher and employee at Harvard—and as an American in-

vested in and proud of the leading role American universities play in health science research—I

have followed the Trump administration’s actions toward Harvard over the past three months

closely. These actions began in early 2025, when I read news reports of public statements made

by the Trump administration attacking the work of university researchers like me. The Trump

administration also attacked the integrity of American universities and made a range of threats

about how the federal government intended to use its authority to impose numerous demands on

Harvard University specifically.

          13.   In early March, these attacks increased. I am aware that on March 10, 2025, the

federal government sent a letter to Harvard warning of potential enforcement actions, and that on

March 31, 2025, the federal government announced a comprehensive review of federal contracts

and grants at Harvard University and its affiliates. I am also aware that officials from the Trump

administration sent a letter to Harvard on April 3, 2025, demanding that Harvard immediately take




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a list of exceedingly burdensome actions to remain a recipient of federal funding (the “April 3

Letter”). I am aware the Trump administration sent yet another letter on April 11, 2025, with more

detailed and intrusive demands that “incorporate[d] and supersede[d] the terms” of the April 3

Letter and which the Trump administration proposed would serve “as the basis for an agreement

in principle that will maintain Harvard’s financial relationship with the federal government” (the

“April 11 Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand

Letters were made public by the press and / or Harvard University officials, and I have read the

demands listed in the Demand Letters.

       14.      I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

“froze” over $2.2 billion in federal grants to Harvard. While the exact meaning of this freeze was

not clear at the time, I learned later in April that the federal government simply began refusing to

disburse funds obligated to NIH (and potentially other) grants, despite receiving requests from

Harvard University to do so. Effectively, this meant that HSPH could not draw down NIH grant

funds to support my research activities or salary.

       15.     I am further aware that on May 5, 2025, Secretary of Education Linda McMahon

announced that “Harvard should no longer seek GRANTS (sic) from the federal government, since

none will be provided.” Secretary McMahon’s letter was followed by a series of other letters from

various government agencies and departments formally terminating a wide array of grants with

Harvard.

       16.     These included letters from NIH (received by Harvard on May 6, 2025), the De-

partment of Agriculture (May 9, 2025), and the Department of Energy, Department of Defense,

the National Science Foundation, and the Department of Housing and Urban Development (all on




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May 12, 2025). Letters communicating each of these terminations were made public, and I have

read each of those letters.

         17.   I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the over $2 billion in terminated funds. HSPH will receive only a

portion of those funds, which will be used primarily to support tenured and tenure-track faculty

and students. That amount is far from sufficient to replace the terminated research funds for HSPH.

         18.   Until NIH’s mass grant terminations at Harvard, my salary was entirely funded by

a single NIH grant. The Principal Investigators of this grant are leading researchers in environ-

mental epidemiology and biostatistics, with over 40 combined years of experience conducting

groundbreaking research. It is an extraordinary privilege to work alongside them on their team.

My research under this grant investigated how exposures to different environmental factors, in-

cluding air pollution and extreme heat, impact symptoms of Americans living with Parkinson’s

disease. This Trump administration froze this grant in April 2025, and Harvard notified the PIs of

the grant (who subsequently notified me) that it was terminated on or about May 15, 2025.

         19.    This was a five-year grant meant to support research from September 2022 until

July 2027. Each year, HSPH receives a new Notice of Award (NOA) that formally obligates the

funds for each year, and I understand that HSPH draws on these funds approximately once per

month.

         20.   Before NIH issues a new NOA each year, it requires PIs to submit progress reports

demonstrating their ongoing productivity toward the aims of the grant. Provided that expert staff

at NIH are satisfied with the grantee team’s progress, NIH issues a new NOA, and NIH obligates

additional funding for the year ahead. While this review process is key to oversight and the re-

sponsible stewardship of federal funds—and while researchers are required to demonstrate their




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productivity and maintain rigorous standards—I am not aware of any instances in which a research

grant was not renewed after this yearly review process. My team fully expected the grant that

supports my salary to be renewed for an additional year in August 2025.

        21.    Prior to the termination of my federal funding, I received a conditional layoff notice

from HSPH that said if I do not obtain grants to support my salary within six months, I will be laid

off on October 14, 2025. Given that grants for academic research typically take many months or

more to apply for and receive, I will not be able to obtain private funding to replace my federal

funding, and I fully expect to be laid off in October.

        22.    However, if my research group’s federal grant is restored within a few months, my

position will continue to exist and my job will no longer be in peril.

        23.    The termination of federal funding will have catastrophic effects on the larger re-

search group within which I carry out my work. My research group at HSPH is made up of 4

research scientists (including myself), a masters-level biostatistician, and 5-6 students and post-

doctoral fellows. Everyone is now at risk of losing their jobs. In collaboration with a broader team

at HSPH, our group has contributed to the compilation of one of the largest datasets of Medicare

claims data available. We have 21 years’ worth of data of every fee-for-service Medicare hospi-

talization claim in the entire country. It has taken years to train our staff and researchers to work

with this massive dataset, and we have had to invest significantly in their training. Even if we were

able to hire different researchers at a later date, years of productivity and resources would be re-

quired to train these individuals. There is a very steep learning curve for anyone working with our

data.

        24.    The collective knowledge of the staff and researchers in my research group is also

irreplaceable. The value of experience and institutional memory within the research group will be




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lost if individuals are forced to turn to other institutions that are able to fund their work. Projects

that have been years in the making, with extensively trained and specialized staff, will be compro-

mised if our team members are forced to find jobs elsewhere. We—and by extension the scientific

community and American public—will lose research meant to benefit the lives of people living

with neurodegenerative diseases. This is the impending reality if funding is not restored within the

next few months.

        25.      Students and postdoctoral researchers hired to work in my research group may also

lose their jobs if funding is not restored. I have already begun using my network to try to get

younger staff hired into jobs elsewhere that are able to fund their research and salaries and support

their careers.

        26.      While some particularly senior faculty have discretionary funds from Harvard, Re-

search Scientists like me generally have no access to non-grant funding. There is no way for my

larger research team to be sheltered from the termination of these grants. And even if some of the

senior faculty were to attempt to use discretionary funding to continue paying some salaries, these

discretionary funds would be far from sufficient to maintain the larger research group.

        27.      The morale of students, staff, and faculty at HSPH are at an all-time low. NIH grants

comprise a larger proportion of HSPH’s budget than of any other school within Harvard. The grant

terminations across HSPH have had a huge impact on the psyche of everyone within the school.

While our resolve to carry on our work to advance America’s health in the face of these unprece-

dented attacks is strong, none of us knows where to turn for continued funding to save our research.

Our careers are in grave danger. But more far importantly, the sustained progress and innovation

that we have worked so hard to achieve on behalf of the American people is under direct threat by

the Trump administration.




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I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: June 1, 2025                                  Signed:

                                                     Scott Delaney
                                                     Research Scientist




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